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                        UNITED STATES DISTRICT COURT
                         DISTRICT OF MASSACHUSETTS


LILIAN PAHOLA CALDERON JIMENEZ
AND LUIS GORDILLO, ET AL.,
individually and on behalf of all
others similarly situated,

     Petitioners-Plaintiffs,

            V.
                                                  C.A.   No.   18-10225-MLW


KEVIN McALEENAN,      ET AL.,

     Respondents-Defendants.

                                    ORDER


           WOLF, D.J.                                                         2019
     At the May 16, 2019 hearing, the court expects to:
     1.      Decide     orally   the     motion    to    dismiss     concerning
Petitioners' Equal Protection and Due Process-vesting claims.
     2.      Reserve judgment on the contention that citizen spouses
have a liberty interest in remaining in the United States with
their alien spouses and, therefore, a right to Due Process before
their alien spouses are removed.

     3.      Possibly     hear   argument    on    respondents'      contention
concerning subject matter              jurisdiction over the claims of
individuals ordered removed after August 29, 2016.
      4.     Hear argument on any discovery issues.

      5.     Address scheduling.


                                            C . o,
                                            UNITED STATES DISTRICT JO^E
